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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-01073-CMA-GPG


   THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   THE BARBARA G. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   AARON FLECK, and BARBARA G. FLECK, on behalf of themselves and all others similarly
   situated,

   Plaintiffs,
   v.
   FIRST WESTERN TRUST BANK,
   CHARLES BANTIS, and
   ANDREW GODFREY,
   Defendants.



        UNOPPOSED MOTION FOR TWO WEEK EXTENSION OF TIME TO RESPOND
           TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT


           Plaintiffs, by and through their attorneys, Podoll & Podoll, P.C., hereby move for a two-

   week extension of time to respond to Defendants’ Motion for Partial Summary Judgment pursuant

   to D.C.COLO.LCivR 6.1 and CMA Civ. Practice Standard 6.1 as follows:

                                 CERTIFICATE OF CONFERRAL

           Undersigned counsel has conferred with counsel for Defendants’ who indicate that they

   have no objection to Plaintiffs’ request for a two-week extension to respond to Defendants’ Motion

   for Partial Summary Judgment.




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                                               ARGUMENT

          1.        Defendants filed their Motion for Partial Summary Judgment on May 15, 2023

   (Dkt. No. 86).

          2.        The deadline for Plaintiffs to file their Response to Defendants’ Motion for Partial

   Summary Judgment is June 5, 2023.

          3.        Counsel for Plaintiffs are involved in extensive briefing and trial preparation for

   an expedited preferential trial in the matter of Wanda Bertoia, et al and Brett Payton, et al, in

   Denver District Court Case No. 2019CV33523 (captioned Wanda Bertoia, et al., v. Brett Payton,

   et al.) which is set to commence on June 20, 2023, and conclude on June 30, 2023.

          4.        Additionally, counsel for Plaintiffs will be involved in depositions scheduled for

   every day next week in the referenced case.

          5.        There have been no other extensions of the deadline to file the Response to

   Defendants’ Motion for Partial Summary Judgment.

          6.        Undersigned counsel for Plaintiffs conferred with counsel for Defendants who

   indicated the extension is unopposed.

          7.        Defendants will not be prejudiced by the brief extension and the extension will not

   affect the scheduling of the case.

          8.        Pursuant to and CMA Civ. Practice Standard 7.1, a proposed order is submitted

   herewith.

          WHEREFORE, Plaintiffs respectfully request an additional two weeks, through and

   including June 19, 2023, to respond to Defendants’ Motion for Partial Summary Judgment.

          Dated: June 2, 2023




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                                                         PODOLL & PODOLL, PC

                                                         By:    s/ Richard B. Podoll, Esq.
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                                                                Attorney for Plaintiffs


                                   CERTIFICATE OF SERVICE

         I hereby certify that on June 2, 2023, a true and correct copy of the foregoing was served
   via PACER/ECF upon the following:

          Attorneys for Defendants
          Timothy R. Beyer, Esq.
          Adam B. Stern, Esq.
          Bryan Cave Leighton Paisner LLP
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          Denver, Colorado 80203
          (303) 861-7000
          tim.beyer@bclplaw.com
          adam.stern@bclplaw.com

          I hereby certify that on June 2, 2023, a true and correct copy of the foregoing was served
   via email on Plaintiffs pursuant to D.C.COLO.LCivR 6.1(c).


                                               By:       s/Christa K. Lundquist
                                                           Christa K. Lundquist




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